   Case: 3:11-cv-00434-DAK Doc #: 9 Filed: 03/14/11 1 of 1. PageID #: 42




                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF OHIO
                                   WESTERN DIVISION

 Patricia A. Prephan,                                Case No. 3:11 CV 434

                                Plaintiff,           ORDER

                 -vs-                                JUDGE JACK ZOUHARY

 NCO Financial Systems, Inc., et al.,

                                Defendants.



       Upon review of the docket in this recently filed case, the Court finds it necessary and proper

to recuse himself. Pursuant to 28 USC §455(b)(4), the Court has “a financial interest . . . in a party

to the proceeding.” The Court directs that this case be returned to the Clerk’s Office for reassignment.

       IT IS SO ORDERED.



                                                           s/ Jack Zouhary
                                                       JACK ZOUHARY
                                                       U. S. DISTRICT JUDGE

                                                       March 14, 2011
